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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                             )   No. CV-20-02135-PHX-SPL
     Darren MacDonald, et al.,
 9                                             )
                                               )
                       Plaintiffs,             )   ORDER
10                                             )
     vs.
11                                             )
                                               )
     Corduroy IP LLC, et al.,                  )
12                                             )
13                     Defendants.             )
                                               )
14                                             )

15         Pursuant to the parties’ stipulation,
16         IT IS ORDERED:
17         1.     That the Stipulation of Dismissal (Doc. 28) is granted;
18         2.     That this action is dismissed with prejudice as to Plaintiffs’ individual
19         claims and dismissed without prejudice as to any other member of the putative
20         class’s right to bring claims;
21         3.     That each party shall bear its own costs and attorneys’ fees; and
22         4.     That the Clerk of Court shall terminate this action.
23         Dated this 24th day of January, 2022.
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25                                                   Honorable Steven P. Logan
                                                     United States District Judge
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